Case 5:18-cv-00526-HE Document 21 Filed 05/22/19 Pagei1ofi1

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

ALIREZA DABIRI, and
RAY DABIRI,

Plaintiffs,

FOREMOST INSURANCE COMPANY

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)
)
)
)
Vv. ) Case No. 18-cv-526-HE
GRAND RAPIDS, MICHIGAN, )

)

)

Defendant.

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

COME NOW the Plaintiffs, Alireza Dabiri and Ray Dabiri, and the
Defendant, Foremost Insurance Company Grand Rapids, Michigan, and pursuant
to Rule 41(a)(1)(i) of the Federal Rules of Civil Procedure, jointly stipulate and

agree to the dismissal of the above-captioned lawsuit with prejudice to the

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/s, eh Mewes b (1A.ll—

/s/
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